Case 1:20-cv-00316-JLS-LGF Document 68 Filed 03/17/22 Page 1 of 3

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK. SiS >

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PELIPPE MARCUS, : espana '

RN DISTR
Plaintiff, 1120-cv-00316-JLS
| vs Honorable: John L. Sinatra cz
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i CITY OF BUFFALO, et al...

Defendant (s)

 

 

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PLANTIFFS'’ MOTION TO COMPEL
AUTHENTICATED VIDEO DISCLOSURE

NOW COMES FELIPPE MARCUS, Plaintiff, In

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Court's February 7, 2022,

 

 
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° UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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Plaintiff, | 1220-cv-00316-JUL8

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CERTIFICATE OF SERVICE

This is to certify that I have this day served counsel for

the opposing parties a copy of the foregoing Gocument by First
class United States mail in a properly addressed envelope with
adequate postage thereon.

  

 

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FELIPPE MARCUS

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